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                                                                                                                     in mind.
                       As a father of three y oung children, Governor Desantis leads our state with Florida families

                      SUPPORTING ACTIVE FATHERHOOD
                                                                                                                        s crisis in Florida. This
                      This year, Governor DeSantis secured nearly $70 million in funding to address the fatherlessnes
                                                                                                                        and  to encourage
                      funding will be used for educational programs, to increase mentorship opportunities for families,
                      responsible and involved fathers.




                               MThere are more than 18 million children in our country who live without a father in their
                             home. This has a severe impact on children, and often leads to dropping out of school, crime,
                             and substance abuse. Incredibly, there are those who diminish the importance of fatherhood
                               and the nuclear family - we will not let that happen in our state. I am proud to say we are
                                         doing everything we can to support involved fatherhood in Florida."
                                                               - Governor Ron Desantis
                                                                                                                                                          4:22-cv-302-RH-MAF

                                                                                                                                                      PLAINTIFF'S EX
                                                              "Kids that have fathers in the household are more likely
                                                              to go to college and just have overall better life success.                                         86
                                                              I think Desantis took a positive step in passing
                                                              legislation to promote fathers being in households."
                                                                                                        - Elijah, Orlando


                                                                                                                                                     Exhibit _   __.Q...,,____
                        SUPPORTING FLORIDA'S FOSTER FAMILIES                                                                                         Date: _ _ __
                                                                                                                                   payments to those      J. Babcock
                        Governor Desantis has shown his commitment to supporting foster families by increasing monthly
                                                                                  monthly  support  to cover childcare  for foster children, and        ' -  -------••
                        who serve as caregivers to foster children, increasing
                                                  y education   opportunities for foster children. The  Freedom   First Budget  includes  nearly $361
                        expanding postsecondar
                                                                                                                                         Florida has the
                        million to provide services for foster parent support and adoption services. Because of this commitment,
                        best results for child permanency among the country's ten most populous states:
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                      Lowest
                      • Average length of time 1n foster care
                        Percentage of children ln foster care for more th an five years
                      • Percentage of children waiting for adoption who have spent over five years in foster care
                      • Average length of stay for children waiting to be adopted
                      Highest
                      • Percentage of children adopted from foster care by relatives



                    HOPE FLORIDA - A PATHWAY TO PROSPERITY:
                                                                                                                               economic se/f.
                    Uniting communities through 'Hope Navigators' to guide Floridians on an individualized path to prosperity,
                    sufficiency, and hope.

                                                                                                                     Floridians on an
                    Spearheaded by First Lady Casey Desantis, Hope Florida utilizes 'Hope Navigators' to guide
                                                                                               between the private  sector, faith-based
                    individualized path to p rosperity by focusing on community collaboration
                                                                        to break down traditional community silos, in an effort to maximize
                    community, non-profits, and government entities,
                    resources and uncover opportunities.

                                                                                                                      to prosperity, develop
                    Hope Navigators are essential in helping individuals identify their unique and immediate barriers
                                                                   work to ensure   all sectors of the community have a 'seat at the table' and
                    long term-goals, map out a strategic plan, and
                    are part of the solution.

                                                                                                                   faith and community
                    Hope Florida's Care Portal technology connects the needs of struggling Florida families with
                                                                         it into the Care Portal, and a real-lime message   is sent lo all
                    partners. A Hope Navigator identifies a need, inputs
                    participating organizations.

                                                                                                                        addiction, children aging
                    Beneficiaries include, but are not limited to, struggling single parents, pregnant mothers battling
                    out of the foster care system, and foster  and  adoptive  parents.



                    PRIORITIZING CARE FOR SENIORS
                                                                                                                          seniors during the
                    Governor Desantis understands the importance of putting our seniors first The Governor prioritized
                                                                            preserved.   Governor DeSanlis  made  sure  that seniors were the
                    pandemic and ensured their rights and well-being were
                    first lo receive COVID treatment and that senior care facilities had ample supplies of COVID tests.


                                                                                                                   right to visit their loved
                     Governor Desantis signed the No Patient Left Alone Act, which guarantees Florida families the
                     ones in hospitals, hospices, and long-term care facilities.

                                                                                                                       treatments. Wally and
                     Florida has also led the nation in raising awareness and expanding access to monoclonal antibody
                                                                                         62 years, were two Floridians who  utilized
                     Doris Cortese, a couple from Cape Coral who have been married for
                     monoclonal treatments and made full recoveries    from COVID.


                                                               "Because of Governor Desantis' policies we were able to
                                                               spend our last Christmas with my dad. I'd like to thank
                                                               Governor Desantis that my father did not have to spend
                                                               his last Christmas alone without his family."
                                                                      - Susan, Riverview, on the No Patient Left Alone Act


                     PRO-LIFE PRIORITIES
                                                                                                                       the lives of Florida's
                     Governor Desantis signed legislation prohibiting abortions after 15 weeks of gestation to protect
                     most vulnerable. He understands that life is a sacred gift worthy of our protection.




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